Case: 1:10-cv-07633 Document #: 323 Filed: 07/30/12 Page 1 of 1 PageID #:3820

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.0.3
                               Eastern Division

Jefferson−Pilot Investments, Inc.
                                       Plaintiff,
v.                                                     Case No.: 1:10−cv−07633
                                                       Honorable Matthew F. Kennelly
Capital First Realty, Inc., et al.
                                       Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 30, 2012:


         MINUTE entry before Honorable Matthew F. Kennelly: No objection having been
filed to the Seventh Receiver Report, the Court hereby orders that pursuant to the request
made in the that report, the Receiver, Steven S. Spinell, is authorized to make payment to
himself out of Receivership funds for compensation in the sum of $16,776.51 for services
rendered in April, 2012. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
